Case 2:25-cv-02880-MAA   Document 6   Filed 04/04/25   Page 1 of 4 Page ID #:23




                                                                   -MAA




                                                  Brian Karth



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Case 2:25-cv-02880-MAA         Document 6      Filed 04/04/25   Page 3 of 4 Page ID #:25




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 4
      Attorneys for Plaintiff Aliza Ingber
 5
 6
                                       UNITED STATES DISTRICT COURT
 7
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
                                             WESTERN DIVISION
 9
 10
      ALIZA INGBER, individually and on behalf          Case No.:
 11 of all others similarly situated,
 12                       Plaintiff,                    CLASS ACTION COMPLAINT FOR:
              v.
 13                                                     (1) VIOLATIONS OF CONSUMER
      GROUPON, INC., a Delaware corporation and             LEGAL REMEDIES ACT (Cal. Civ.
 14   DOES 1 through 10, inclusive,                         Code § 1750 et seq.)
                                                        (2) VIOLATIONS OF CAL. BUS. &
 15                      Defendants.                        PROF. CODE § 17200 et seq.
                                                        (3) FRAUD
 16
 17
                                                        DEMAND FOR JURY TRIAL
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              Plaintiff Aliza Ingber ("Plaintiff"), individually and on behalf of all others
 27
      similarly situated, complains and alleges as follows:
 28
                                                 - 1-
                                        COMPLAINT FOR DAMAGES
Case 2:25-cv-02880-MAA           Document 6    Filed 04/04/25   Page 4 of 4 Page ID #:26



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                            UNITED STATES DISTRICT COURT

                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                       WESTERN DIVISION



ALIZA INGBER, individually and on behalf         Case No.:
of all others similarly situated,

                   Plaintiff,                    CLASS ACTION COMPLAINT FOR:
       v.
                                                 (1) VIOLATIONS OF CONSUMER
GROUPON, INC., a Delaware corporation and            LEGAL REMEDIES ACT (Cal. Civ.
DOES 1 through 10, inclusive,                        Code § 1750 et seq.)
                                                 (2) VIOLATIONS OF CAL. BUS. &
                   Defendants.                       PROF. CODE § 17200 et seq.
                                                 (3) FRAUD



                                                 DEMAND FOR JURY TRIAL




DEFENDANTS TO BE SERVED:
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600 West Chicago Avenue, Suite 400
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